




2014 VT 118









Guntlow and Winterkorn v. Board
of Abatement, Town of Pownal (2014-139)

&nbsp;

2014 VT 118

&nbsp;

[Filed 7-Nov-2014]

&nbsp;

NOTICE:&nbsp; This opinion is subject
to motions for reargument under V.R.A.P. 40 as well as formal revision before
publication in the Vermont Reports.&nbsp; Readers are requested to notify the
Reporter of Decisions by email at: JUD.Reporter@state.vt.us or by mail at: Vermont
Supreme Court, 109 State Street, Montpelier, Vermont 05609-0801, of any errors
in order that corrections may be made before this opinion goes to press.

&nbsp;

&nbsp;


 
  
  2014 VT 118
  
 


&nbsp;


 
  
  No.&nbsp; 2014-139
  
 


&nbsp;


 
  
  Pauline Guntlow and Richard
  Winterkorn
  
  
  Supreme Court
  
 
 
  
  &nbsp;
  
  
  &nbsp;
  
 
 
  
  &nbsp;
  
  
  On Appeal from
  
 
 
  
  &nbsp;&nbsp;&nbsp;&nbsp; v.
  
  
  Superior Court, Bennington Unit,
  
 
 
  
  &nbsp;
  
  
  Civil Division
  
 
 
  
  &nbsp;
  
  
  &nbsp;
  
 
 
  
  Board of Abatement, Town of
  Pownal
  
  
  September Term, 2014
  
 
 
  
  &nbsp;
  
  
  &nbsp;
  
 
 
  
  &nbsp;
  
  
  &nbsp;
  
 
 
  
  John
  P. Wesley, J.
  
 
 
  
  &nbsp;
  
 


Paul S. Gillies of Tarrant, Gillies, Merriman &amp;
Richardson, Montpelier, for Plaintiffs-Appellants.

&nbsp;

Peter V. Holden, Bennington, for Defendant-Appellee.

&nbsp;

&nbsp;

PRESENT:&nbsp;&nbsp; Reiber, C.J., Skoglund and Robinson, JJ., and
Maley and Griffin, Supr. JJ.,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Specially Assigned

&nbsp;

&nbsp;

¶ 1.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
ROBINSON, J. &nbsp;&nbsp;Two taxpayers appeal a decision from the trial
court affirming the decision of the board of abatement of the Town of Pownal
denying their request for tax abatement.&nbsp; We affirm in part, reverse in part,
and remand for further proceedings.

¶ 2.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Taxpayers sought abatement of the property taxes on several
contiguous properties for the years 2005 through 2011. &nbsp;Taxpayers
pressed their claims before the town abatement board, appearing three times
before that body.&nbsp; In January 2012, the board held a hearing and denied
taxpayers’ request, but later determined that it had lacked a quorum.&nbsp; In a
second hearing, in March 2012, the board again voted to deny taxpayers’ request.&nbsp;
Taxpayers appealed that denial to the Superior Court, Civil Division.&nbsp; The
trial court noted that the board’s meeting minutes, which simply stated that
the board had denied taxpayers’ request, did not explain the reasons for the
board’s denial enough to enable the court to decide the case, and did not
satisfy the statutory requirement that the abatement board “state in detail in
writing the reasons for its decision.” 24 V.S.A. §&nbsp;1535(c).&nbsp; The court
remanded the matter to the abatement board, directing that it either detail in
writing the reasons for its decision or hold a new, curative hearing.

¶ 3.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In August 2013, the tax abatement board held its third hearing, the one
at issue here. &nbsp;Taxpayers’ request for tax abatement was based on 24 V.S.A.
§&nbsp;1535(a)(4), which provides that the board “may abate in whole or part
taxes, interest, or collection fees” in cases in which there was a “manifest
error or a mistake of the listers.” &nbsp;Taxpayers made four arguments.

¶ 4.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
First, taxpayers argued that the Town’s delinquent-tax collector erred
in assessing interest and fees on the entirety of&nbsp; an overdue tax bill after refusing
to accept a partial payment that taxpayers had proffered in 2011.&nbsp; Taxpayer
Guntlow explained that she sought to pay taxpayers’ overdue 2010 property tax
for her homestead, one of several properties they owned.&nbsp; The delinquent-tax
collector said that taxpayers could not specify payment for an individual
property because their property had just been reclassified from a single
contiguous property to five individual properties, and that any payment made
would be applied to all the properties.&nbsp; Although they initially opted not to
pay the bill on that basis, taxpayers subsequently paid the overdue bill,
directing on the check that the payments be applied to the homestead
property—which they were particularly anxious to protect from tax sale.

¶ 5.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Taxpayers further explained that, on advice of counsel, they took legal
steps to legally change the property classification for the homestead property,
and subsequently sought to pay the 2011 property-tax bill for that specific
property.&nbsp; Again, the tax collector said that any money paid by taxpayers would
be applied to all of the properties.&nbsp; Only after the intervention of counsel
did the tax collector accept a partial payment allocated to the homestead
property.&nbsp; Nonetheless, taxpayers were assessed interest and penalties on overdue
taxes, including the amount of the payment they had offered to make when due. &nbsp;Taxpayers
sought abatement in the amount of $866.50, the interest and penalties they said
they were assessed on account of the tax collector’s refusal to accept the partial
payment allocated to a specific property.

¶ 6.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Second, taxpayers argued that the listers had erroneously and without
notice to taxpayers reclassified their property for several years, resulting in
improperly inflated tax bills.&nbsp; Taxpayer Guntlow explained that following her
discussion with the tax collector in which she first learned about the
distinction between properties classified as individual and properties
classified as contiguous, she investigated the matter further.&nbsp; She learned
that their various properties had been classified as contiguous in 2004, but
were switched to individual sometime in 2005—without, taxpayers said, any
explanation or notice—and remained individually classified until late August
2011, when they were reclassified back to contiguous.

¶ 7.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Taxpayers argued to the board that this reclassification without explanation
or notice, which significantly raised the taxes and fees assessed, was arbitrary
and violated state law. &nbsp;Taxpayers asserted that because the property was
contiguous and under common ownership, it should have been classified as
contiguous all along, and that the individual reclassification over multiple
years violated 32 V.S.A. §&nbsp;4152(a)(3), which mandates that every &nbsp;town’s “grand
list” contain a “brief description of each parcel of taxable real estate in the
town” and &nbsp;defines “parcel” as “all contiguous land in the same ownership,
together with all improvements thereon.”

¶ 8.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Third, the taxpayers argued that one sewer-bond payment is applied to
each parcel.&nbsp; Because their contiguous property had been wrongly classified as
multiple parcels, taxpayers were charged for multiple sewer bonds over multiple
years, for a total overcharge of $1,342.

¶ 9.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Fourth, taxpayer Guntlow explained that because the properties were misclassified
as individual, a .66-acre leach field was assessed at $10,400 from 2005 to 2010,
rather than the $700 value assigned to the leach field once the properties were
reclassified as contiguous, resulting in an overpayment of $1,197.

¶ 10.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Fifth, taxpayer Guntlow explained that a house site up to two acres
around a house is subject to an exemption in the taxation calculus that was
unavailable to taxpayers during the years when their property was
misclassified.

¶ 11.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Finally, taxpayers presented statistical evidence that they argued
showed that the town listers had failed to equalize their property assessments
with others in their town, and that this failure amounted to a manifest error
or mistake of the listers. &nbsp;This was a major focus of taxpayers’ detailed
presentation at the abatement hearing. In it, taxpayers argued that their
property was not appraised at a uniform rate, and thus violated the requirement
of proportional contribution. &nbsp;Taxpayers did not argue that the property was
not appraised at fair-market value; instead, they argued that there was a
failure to equalize such that the ratio of listed value to market value of
their property was disproportionate to the ratio of listed value to fair-market
value of comparable properties. &nbsp;In support of its claim, taxpayers presented a
computer-aided statistical study conducted by a sophomore at Williams College,
based on a full town-wide reappraisal in 2011.

¶ 12.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
After taxpayers presented their
case, neither the listers nor any other party presented evidence or argument
concerning taxpayers’ claims, and despite an invitation from a lister, nobody
on the board of abatement asked the listers any questions.&nbsp; Instead, the board
voted to enter into executive session “for deliberation.”

¶ 13.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Taxpayers requested that the listers (who sit on the board of abatement)
recuse themselves from voting, asserting that they had a conflict of interest
because their own claimed errors were at issue in the case.&nbsp; The listers agreed
to abstain from voting.&nbsp; However, in order to maintain a required quorum, the
abatement board members wanted to have the listers present in the executive session.
&nbsp;Taxpayers initially objected to that procedure, but once they were informed
that the listers were needed for quorum purposes and that the board could not
vote or make any decisions in executive session, taxpayers ultimately consented
to the listers’ participation.

¶ 14.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Following its deliberation, at a continued abatement hearing several
days later, the board rendered its decision.&nbsp; The minutes of that meeting address
each of the six issues in turn, and the corresponding explanations offered by
the board[1]:

1.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Did the Pownal Delinquent Tax collector err by refusing to accept
Guntlow’s tax payment on its due date; then demanding interest and penalties? .&nbsp;.&nbsp;.
No, because the delinquent tax collector could not take a portion of payment
towards one parcel on a tax bill, being in the hands of the attorney.

&nbsp;

2.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Did Pownal [listers] err, when in 2005 they arbitrarily changed
.&nbsp;.&nbsp;. Guntlow’s Contiguous Property Classification from one parcel to
five Individual parcels? .&nbsp;.&nbsp;. No, it was not proven by the appellant
that the [listers] had err[ed]. 

&nbsp;

3.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Did Pownal [listers] err, from 2005-2010, using the erroneous property
classification Individual which resulted in:

&nbsp;

a.)&nbsp;&nbsp;&nbsp; Additional
Sewer Bond fees. . . since this is a municipal repayment based on a parcel not
dwelling and the appellant not being treated equitably.&nbsp; The appellant is to be
refunded in the amount of $1,342.81.

b.)&nbsp;&nbsp;&nbsp; Increased
Leach field property assessments. . . were addressed by the [listers] [and] had
been adjusted at grievance in 2011.

c.)&nbsp;&nbsp;&nbsp; Elimination
of the House site allocation allowance for the Guntlow property? . . . [T]he
elimination of the house site is based on the income and is handled by the
State.

&nbsp;

4.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Did the Pownal [listers] err by not equalizing four of Guntlow’s
properties to all other town properties, from 2005-2010? .&nbsp;.&nbsp;. No,
because the same cost table/schedule were used to value the appellant’s
property as were to the rest of the parcels in town.

&nbsp;

¶ 15.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Taxpayers appealed the Board’s decision to the civil division under Vermont
Rule of Civil Procedure 75, which governs abatement appeals.&nbsp; Garbitetti v. Town
of Brookfield, 2011 VT 122 ¶¶&nbsp;6, 10, 191 Vt. 76, 38 A.3d 1133. Taxpayers
renewed their arguments on the merits of the abatement request, and argued that
the board of abatement did not provide sufficient explanation of its reasons
for denying their request.&nbsp; In addition, they challenged the listers’ failure
to recuse themselves from the entire deliberative process.&nbsp; Reviewing the
matter on the record, the trial court affirmed the board of abatement’s
decision. &nbsp;Taxpayers appealed.

¶ 16.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
On appeal, taxpayers argues that (1) the participation of the listers in
the deliberations was improper because the abatement request was based upon a
claim of “manifest error or a mistake of the listers”; (2) the board improperly
deliberated in executive session; and (3) the board’s decision did not meet the
statutory requirement that it “state in detail in writing the reasons for its
decision.”[2]

¶ 17.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
“Rule 75 places the lower court in the position of an appellate court in
reviewing administrative agency decisions,” Garbitetti, 2011 VT 122,
¶&nbsp;7, and our standard of review is identical here.&nbsp; Tarrant v. Dep’t of
Taxes, 169 Vt. 189, 195, 733 A.2d 733, 738 (1999) (“Where there is an
intermediate level of appeal from an administrative body, we review the case
under the same standard as applied in the intermediate appeal.”).

¶ 18.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
“A court reviewing governmental action,” including a denial of a tax-abatement
request, is “normally limited to answering legal questions raised by the
factual record developed in the administrative proceeding.” &nbsp;Garbitetti,
2011 VT 122, ¶&nbsp;6. &nbsp;“The superior court’s review of [an abatement] board’s
decision is ‘necessarily narrow.’&nbsp;” &nbsp;Murray v. City of Burlington,
2012 VT 11, ¶&nbsp;14, 191 Vt. 597, 44 A.3d 162 (mem.) (quoting In re Town
of Bennington, 161 Vt. 573, 574, 641 A.2d 1331, 1332 (1993) (mem.)). &nbsp;Since
a tax-abatement decision is entirely discretionary, an appellate court reviews
it for abuse of discretion.&nbsp; Garbitetti, 2011 VT 122, ¶&nbsp;14.&nbsp; As we
have previously cautioned, “a taxpayer’s request for abatement is not a
substitute for a property tax appeal.” Murray, 2012 VT 11, ¶&nbsp;14.&nbsp; On
questions of fact, we examine “the administrative record”––not the record of
the superior court––“to determine whether there was ‘any competent evidence’ to
support the [agency’s] findings”; by contrast, we “exercise[] independent
review of any substantial questions of law affecting the merits.”&nbsp; Roberts
v. Univ. of Vt., 2013 VT 30, ¶&nbsp;14, 193 Vt. 529, 70 A.3d 1058 (citation
omitted).

I. Participation
of Listers in Deliberations

&nbsp;

¶ 19.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
By statute, a town board for the abatement of taxes is composed of the
listers, the town treasurer, and the board of civil authority, which is made up
of the town clerk, selectboard members, and justices of the peace. &nbsp;24 V.S.A. §§&nbsp;801,
1533. &nbsp;In their petition for a tax abatement to the board, taxpayers challenged
the decision of the listers as being “manifest error or a mistake of the
listers,” id. §&nbsp;1535(a)(4), which is one of the seven bases upon which
a tax abatement board “may abate in whole or part taxes, interest, or
collection fees.” Id. §&nbsp;1535(a).&nbsp; Both parties acknowledge that such
a challenge places listers in an awkward situation, “where they are put in the
position of defending their own actions while reviewing the same.”&nbsp; For that
reason, and at taxpayers’ request, listers agreed not to vote on taxpayers’
request.[3]

¶ 20.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The quorum requirement for the board of abatement provides that the act
of a majority of a quorum at a meeting shall be treated as the act of the
board.&nbsp; 24 V.S.A. §&nbsp;1533.&nbsp; However, this quorum requirement need not be
met if the town treasurer, a majority of the listers, and a majority of the
selectboard members are present at the meeting.&nbsp; Id.&nbsp; When the board’s
authority rests on a quorum, the listers are not necessarily required to be
part of that quorum.&nbsp; But where the board’s authority to act rests on the
alternative—presence of the treasurer, a majority of the selectboard members,
and a majority of the listers—the presence of a majority of listers is necessary
to make a quorum.

¶ 21.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In this case, the board indicated to taxpayers that a majority of the
listers had to be present to make a quorum.&nbsp; For that reason, the board
proposed to taxpayers that two listers be present during the deliberation, but
not vote.&nbsp; Taxpayers initially objected that the presence of the recused
listers during the deliberation would be inconsistent with their recusal, but
after discussion with the board about the likelihood that the departure of the
listers would defeat a quorum and essentially “shut down” the proceeding,
taxpayers withdrew their objection to the listers being present during the
deliberation.&nbsp; In doing so, taxpayers waived any objection to the listers’
participation in the executive session, and we need not consider it.&nbsp; In re
Denio, 158 Vt. 230, 240, 608 A.2d 1166, 1172 (1992) (“To the extent
appellants failed to object before the Board, they have waived their objection.”).

II. Use
of Executive Session

&nbsp;

¶ 22.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The general public policy of the state, expressed in the Vermont open-meetings
statute, is that meetings of public bodies should be open to the public.&nbsp; 1
V.S.A.&nbsp; §§&nbsp;310-312. “[D]eliberations .&nbsp;.&nbsp;. in connection with a
quasi-judicial proceeding” are excluded from the open-meetings statute. &nbsp;1
V.S.A. §&nbsp;312(e). &nbsp;“&nbsp;‘Deliberations’ means weighing, examining and
discussing the reasons for and against an act or decision, but expressly
excludes the taking of evidence and the arguments of parties.” &nbsp;Id.
§&nbsp;310(1). &nbsp;Both parties acknowledge &nbsp;that real property tax-abatement
proceedings are quasi-judicial.&nbsp; Id. §&nbsp;310(5)(B); Garbitetti,
2011 VT 122,&nbsp;¶ 9; Aiken v. Malloy, 132 Vt. 200, 215, 315 A.2d 488,
497 (1974). 

¶ 23.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Taxpayers argue that because the open-meetings law does not apply to
deliberations in quasi-judicial proceedings in the first place, the board’s
invocation of “executive session” was unnecessary and improper. Rather than
voting to go into executive session, taxpayers say, the board could have, and
should have, simply retired to deliberate privately.&nbsp; Taxpayers concede that
the board’s entry into “executive session” was functionally the same as the
private deliberations they were entitled to have, and that the board’s asserted
deviation from state law is immaterial.&nbsp; They raise the argument to demonstrate
what they perceive to be “the rough approach” that the board took to taxpayers’
claims. &nbsp;We agree with taxpayers that any technical non-conformity with state
law associated with the label applied to their deliberation is immaterial.

III. Statement
of Reasons for Decision

&nbsp;

¶ 24.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The statute applicable to decisions of boards of abatement requires the
board to “state in detail in writing the reasons for its decisions.”&nbsp; 24 V.S.A.
§&nbsp;1535(c).&nbsp; This Court has not previously considered the level of detail
required by this provision.

¶ 25.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Our most closely analogous decision was in Harris v. Town of Waltham,
in which we considered the level of detail required by a similar statute in a board
of civil authority decision in a tax appeal.&nbsp; 158 Vt. 477, 613 A.2d 696

(1992).&nbsp; In that case, the taxpayers challenged the appraisal of some of their
land on the ground that all of their land had been valued at $160 per acre, but
they had conveyed the most valuable parcel from that land.&nbsp; That more valuable
parcel, and the parcel they retained, were both valued at $160 per acre,
leading taxpayers to conclude that their remaining land was overvalued.&nbsp; Id.
at 478.&nbsp; The BCA rejected taxpayers’ appeal, stating, “Appeal denied.&nbsp;
Assessment for land is similar to assessments of surrounding land.”&nbsp; Id.
(quotation marks omitted).

¶ 26.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
This Court concluded that under the circumstances, the BCA’s explanation
was adequate under the statute providing that if the BCA did not within fifteen
days certify in writing its notice of decision, “with reasons,”&nbsp; 32 V.S.A. §
4404(c), the prior year’s grand list of properties remains in place.&nbsp; In
reaching its decision, the Court considered several factors.&nbsp; First, the
applicable statute had previously required the BCA to “certify in writing its
findings in the premises,” id. (1982), and this Court had held in two
cases that the requisite findings were absent or inadequate, such that the
presumptive continuation of a prior year’s grand-list assessment stood.&nbsp; Harris,
158 Vt. at 481, 613 A.2d at 698 (citing Hojaboom v. Town of Swanton, 141
Vt. 43, 442 A.2d 1301 (1982) and Punderson v. Town of Chittenden, 136
Vt. 221, 388 A.2d 373 (1978)).&nbsp; But following these decisions, the Legislature
had amended the statute to eliminate the reference to “findings,” and instead
simply call for “reasons.”&nbsp; Id.&nbsp; The Legislature also amended the
trigger for holding over the prior year’s grand list assessment to “substantial
compliance” with the notice-and-reasons requirement.&nbsp; Id. at 480-82, 613
A.2d at 698-99.&nbsp; We concluded that the Legislature intended to overrule our two
prior decisions, at least in part, and to dial back the level of statutorily
required detail required in a decision.&nbsp; Id. at 481, 613 A.2d at 698.

¶ 27.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Second, this Court was cognizant of the reality that boards of civil authority
are made up of volunteer citizens who decide these cases in short timeframes.&nbsp; Id.
at 482 n.3, 613 A.2d at 699 n.3.&nbsp; In this context, it is simply unrealistic to
expect an enumeration of reasons as detailed as a court or administrative
agency would be expected to provide.

¶ 28.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Third, the reason offered by the BCA in that case was directly
responsive to the only argument made by the taxpayer.&nbsp; Since the taxpayer’s
sole argument was that the taxpayer had been discriminated against compared to
certain other named landowners, the statement that the taxpayers’ assessment
“is similar to assessments of surrounding land,” was a sufficient explanation
to comply with the statute.&nbsp; Id. at 482 (quotation marks omitted).&nbsp; As
the court explained, “the sophistication of the BCA’s statement matches the
sophistication of the taxpayer’s appeal.”&nbsp; Id. at 482 n.3.

¶ 29.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Finally, under the statutory regime in effect at the time, taxpayers’
rights were fully protected by a de novo appeal to the State Board of
Appraisers.&nbsp; Id. at 482.

¶ 30.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In this case, we have a statute that calls not merely for “reasons,” but
requires the board to “state in detail in writing the reasons for its
decision.”&nbsp; In contrast to the statute governing tax appeals in Harris,
this Legislature has not amended the statute to dial back the expectations placed
upon boards of abatement, and there is no de novo review process that protects taxpayers’
rights.&nbsp; The Legislature has expressly called for a statement of the reasons
for the board of abatement’s decision “in detail.”&nbsp; 24 V.S.A. §&nbsp;1535(c).&nbsp; These
factors support the imposition of a higher standard in the abatement context
than applied by this Court in Harris.

¶ 31.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
On the other hand, the composition of the board of abatement is quite
similar to that of the board of civil authority; the same concerns about the
sophistication and reasonable expectations of a local, volunteer board that
this Court discussed in Harris come into play in this case. Moreover,
the broad discretion enjoyed by a board of abatement weighs in favor of more
modest expectations of the board’s explanations.&nbsp; See Garbitetti, 2011
VT 122, ¶&nbsp;14 (noting that boards of abatement have broad discretion to
grant or deny abatement requests, and holding that abatement statute “allows
the Board to abate taxes, but does not require it to do so even if the taxpayer
falls within one of the categories allowing for abatement”).

¶ 32.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
With these considerations in mind, we reach the following conclusions.&nbsp;
A board of abatement’s decision must provide sufficient explanation to “indicat[e]
to the parties, and to an appellate court, what was decided and upon what
considerations.”&nbsp; Punderson, 136 Vt. at 225, 388 A.2d at 376 (citations
omitted).&nbsp; The writing need not be lengthy, exhaustive, or legalistic, and need
not satisfy the standards we would apply to a trial court’s findings.&nbsp; But it
must address the arguments raised by the applicant. &nbsp;See Harris, 158 Vt.
at 481, 613 A.2d at 699.&nbsp; The more detailed and clear a taxpayer’s own
presentation, the greater the board’s duty to respond in kind.&nbsp; See id.
at 482 n.3.

¶ 33.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
With these considerations in mind, we consider the board’s explanations
in support of its decision.&nbsp; First, with respect to the taxpayers’ argument that
the delinquent-tax collector wrongly declined to accept a payment allocated to
a specific property and then unfairly charged interest and penalties on that
late payment, the board declined the abatement request “because the delinquent-tax
collector could not take a portion of payment towards one parcel on a tax bill,
being in the hands of the attorney.”&nbsp; This explanation may or may not reflect
an accurate understanding of the law, but it does provide the parties, and a
reviewing court, an understanding of the considerations that animated the
board’s decision on this question.&nbsp; Had this Court been asked to review the
merits of the board’s determination on this question, we would have been able
to evaluate whether the law allows or requires the tax collector to take a
portion of payment towards one parcel on a tax bill, and could have ruled
accordingly.&nbsp; The board’s explanation on this point satisfies the requirements
of 24 V.S.A. §&nbsp;1535(c).

¶ 34.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
With respect to taxpayers’ argument that the listers improperly and
without notice reclassified their property to an inapplicable and less
advantageous status, the board stated, “No, it was not proven by the appellant
that the Listers had erred.”&nbsp; Especially given that the only information
presented to the board on this point was from taxpayers, who supported their
claim with reference to documents and legal citations, this response does not
meet the above test.&nbsp; It amounts to “you are wrong,” without any explanation
why.&nbsp; Taxpayers’ presentation was sufficient to raise a serious question of
manifest error, and they are left to wonder what aspect of their position was
unpersuasive to the board, or whether the board understood it at all.&nbsp;
Likewise, a reviewing court has no basis for determining whether the board’s
decision fell within its broad discretion, or whether it amounted to a failure
to exercise or abuse of discretion.&nbsp; Garbitetti, 2011 VT 122, ¶&nbsp;14
(“[W]e review .&nbsp;.&nbsp;. decision[s] denying abatement for abuse of
discretion.”).

¶ 35.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
With respect to the taxpayers’ arguments that they had unwittingly paid
for a .66-acre leach field as if it was an individual property, causing increased
assessments from 2005 to 2010, the board responded, “the increased leach field
property assessments were addressed by the [listers] [and] had been adjusted at
grievance in 2011.”&nbsp; This response reflects that the town agreed to adjust
taxpayers’ 2011 tax bill on account of the leach-field issue, but does not in
any way address the years 2005 to 2010.&nbsp; In that respect, it amounts to a
statement of the board’s decision, but not an explanation of the reason.&nbsp; That
is not to say that the board is required to abate the challenged taxes for
these years, but it must provide a basic statement of the considerations that
underlay its rejection of taxpayers’ request.

¶ 36.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In rejecting the request for abatement on account of the foregone house-site
allowance, the board wrote, “the elimination of the house site is based on the
income and is handled by the State.”&nbsp; Again, the board’s understanding of the
law may or may not be correct, but the writing does inform taxpayers, and any
reviewing court, of the considerations underlying the board’s rejection of
taxpayers’ argument on this basis.&nbsp; A reviewing court could consider the
accuracy of the legal understanding underlying the board’s decision on this
point, enabling meaningful review.

¶ 37.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Finally, in rejecting taxpayers’ evidence that their properties were
treated differently from others in the town, the board wrote that “the same
cost table/schedule were used to value the appellant’s property as were to the
rest of the parcels in town.”&nbsp; This explanation responded directly to the equalization
argument, and reflected that because the same cost table and schedule were used
for all properties, the board was not persuaded that taxpayers’ properties were
unfairly valued.&nbsp; It provides ample basis for what would be a very deferential
review, since the question before a reviewing court would be whether any
evidence in the record supported the town’s conclusion on this point. &nbsp;See Garbitetti,
2011 VT 122, ¶&nbsp;14.

¶ 38.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
In summary, some, but not all of the board of abatement’s explanations
in this case satisfy the statutory requirement that it “state in detail in
writing the reasons for its decision[s].”&nbsp; 24 V.S.A. §&nbsp;1535(c).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Reversed
and remanded to the trial court with instructions to remand to the Board of
Abatement, Town of Pownal, for a more detailed explanation of the reasons for
its denial of taxpayers’ request for abatement on the ground that the
misclassification of their property over a course of years amounted to a manifest
error or mistake, and its request for abatement on the ground that taxation of
their .66-acre leach field from 2005 to 2010 as an individual property amounted
to manifest error or mistake.&nbsp; In the alternative, the Board may hold a new
hearing on those two issues.&nbsp; Affirmed in all other respects.

&nbsp;


 
  
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  FOR THE COURT:
  
 
 
  
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  Associate
  Justice
  
 


&nbsp;









[1] &nbsp;The included text reflects the question presented
and the board’s answer and explanation.&nbsp; The omitted text reflects the actual
motions and votes.&nbsp; 





[2] &nbsp;Taxpayers’ brief also asks whether there was
manifest or obvious error by the listers.&nbsp; Although taxpayers’ brief mentions
the merits—the asserted manifest or obvious errors by the listers—the brief
does not address those claims with any specificity, and at oral argument
counsel indicated that taxpayers’ appeal rests on their procedural claims.&nbsp;
Accordingly, we do not address the merits of the board of abatement’s responses
to each of the questions posed by taxpayers.





[3] &nbsp;We need not and do not decide whether the listers
were required to abstain from voting.







